Case 15-01145           Doc 7947        Filed 05/04/18 Entered 05/04/18 11:52:23               Desc Main
                                         Document     Page 1 of 1


                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 -----------------------------------------------------------------------x
                                                                        :
 In re:                                                                 :   Chapter 11
                                                                        :
 Caesars Entertainment Operating Company, Inc., et al., :                   Case No. 15-01145 (ABG)
                                                                        :
                            Debtors.                                    :
                                                                        :   Jointly Administered
 -----------------------------------------------------------------------x
                         NOTICE OF WITHDRAWAL OF APPEARANCE

        Please take notice that Jack O'Connor of Sugar Felsenthal Grais & Helsinger, LLP, hereby

withdraws his appearance as Local Counsel to Whitebox Advisors LLC in the above-captioned

bankruptcy proceedings, and requests that he be removed from all notice lists under Bankruptcy

Rule 2002 and via the Court’s CM/ECF system.

 Date: May 4, 2018                                             By: /s/ Jack O’Connor

 Jack O’Connor
 SUGAR FELSENTHAL GRAIS & HELSINGER LLP
 30 N. LaSalle St., Suite 3000
 Chicago, IL 60602
 Tel: 312-704-9400
 joconnor@sfgh.com




SFGH:4825-6675-0053v1
